











	


             


NUMBER 13-10-00422-CV


COURT OF APPEALS


THIRTEENTH DISTRICT OF TEXAS


CORPUS CHRISTI - EDINBURG 

                                                                                                                      


SAN BENITO ENTERPRISES, LLC,					Appellant,


v.


CAMERON COUNTY, CITY OF

SAN BENITO AND SAN BENITO

CONSOLIDATED INDEPENDENT 

SCHOOL DISTRICT	  							Appellees.

                                                                                                                      




On appeal from the 197th District Court of 


Cameron County, Texas.

                                                                                                                       


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Garza

Memorandum Opinion Per Curiam

	On August 2, 2010, appellant, San Benito Enterprises, L.L.C. ("San Benito") filed a
restricted appeal, seeking to invalidate an April 10, 2010 default judgment rendered in favor
of appellees, Cameron County, City of San Benito, and San Benito Consolidated
Independent School District.  San Benito also filed a "Motion for Immediate Temporary
Relief and Temporary Order Enjoining Tax Sale," in which it requested this Court to issue
a "temporary order enjoining the tax sale" of San Benito's real estate in a tax sale scheduled
for August 3, 2010 at 10:30 a.m.  We deny San Benito's motion for immediate temporary
relief and dismiss the appeal.

	In its motion, San Benito argues that the trial court's April 10, 2010 default judgment
is void because: (1) it was served by a private process server, and the record does not
reflect that the private process server was authorized to serve citation or process; (1) and (2) 
the private process server failed to attach a copy of the petition at the time of service. (2)

	On August 2, 2010, appellees filed a response.  Attached as an exhibit to appellees'
response is a 1997 order authorizing the private process server to serve citations and
process in the district courts of Cameron County, Texas.  Similarly, appellees provided a
1997 order authorizing the private process server to serve citations and process in district
courts in Hidalgo County, Texas.  In addition, appellees provided a copy of Texas Rule of
Civil Procedure 117a, which governs citations in suits for delinquent ad valorem taxes.  Rule
117a, paragraph 4, provides in pertinent part, "Such citation need not be accompanied by
a copy of plaintiff's petition and no such copy need be served."

	We find San Benito's challenge to the trial court's April 10, 2010 judgment to be
without merit.  We deny San Benito's motion for immediate temporary relief and dismiss its
appeal. 		

								PER CURIAM 

	


Delivered and filed the

2nd day of August, 2010
1.  See Tex. R. Civ. P. 103.  
2.  See id. R. 106(a)(1).


